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AO 199A (Rev.    ) Order Setting Conditions of Release                                             Page 1 of        Pages



                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                    __________     of Columbia
                                                                District of __________


                United States of America                             )
                           v.                                        )
                                                                     )        Case No.
                                                                     )
                           Defendant
                                                                     )

                                     ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

      The defendant must not violate federal, state, or local law while on release.

      The defendant must cooperate in the collection of a DNA sample if it is authorized by     U.S.C. §        .

      The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

      The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:
                                                                                     Place



      on
                                                                    Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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                                                  ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

                                                                                            ns marked below:

(    ) (6)     The defendant is placed in the custody of:
               Person or organization
               Address (only if above is an organization)
               City and state                                                                                   Tel. No.
                                                                                                                                      , and (c) notify the court
immediately if the defendant violates a

                                                                        Signed:
                                                                                                    Custodian                                     Date
(    ) (7) The defendant must:
      (   ) (a) submit to supervision by and report for supervision to the                                                                  ,
                telephone number                             , no later than                                               .
      (   ) (b) continue or actively seek employment.
      (   ) (c) continue or start an education program.
      (   ) (d) surrender any passport to:
      (   ) (e) not obtain a passport or other international travel document.
      (   ) (f) abide by the following restrictions on personal association, residence, or travel:

      (      ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:

      (      ) (h) get medical or psychiatric treatment:

      (      ) (i) return to custody each                   at
                   or the following purposes:

      (     ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                 necessary.
      (   ) (k) not possess a firearm, destructive device, or other weapon.
      (     ) (l) not use alcohol (         ) at all (     ) excessively.
      (     ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                  medical practitioner.
      (    ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                  random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                  of prohibited substance screening or testing.
      (    ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial servic es office or
                  supervising officer.
      (    ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                  (    ) (i) Curfew. You are restricted to your residence every day (             ) from                 to              , or (     ) as
                                directed by the pretrial services office or supervising officer; or
                  (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                               activities approved in advance by the pretrial services office or supervising officer; or
                  (    ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court; or
                  (    ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                               you must comply with the location or travel restrictions as imposed by the court.
                               Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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                                                  ADDITIONAL CONDITIONS OF RELEASE

      (    ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
                 (   ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                 (   ) (ii) Voice Recognition; or
                 (   ) (iii) Radio Frequency; or
                 (   ) (iv) GPS.
      (    ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                 officer.
      (    ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, in cluding arrests,
                 questioning, or traffic stops.
      (    ) (t)
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AO 199C (Rev. 09/08) Advice of Penalties                                                                       Page           of        Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                          Defendant’s Signature



                                                                                              City and State



                                               Directions to the United States Marshal

(    ) The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
       the appropriate judge at the time and place specified.



                                                                                       Judicial Officer’s Signature



                                                                                          Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY         U.S. MARSHAL
